UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 JANE DOE,
                                                        Case No. 24-cv-07975-AT
                                Plaintiff,

                                                        NOTICE OF APPEARANCE OF
                        -against-                       ALEX SPIRO

 SEAN COMBS, DADDY’S HOUSE
 RECORDINGS INC., CE OPCO, LLC d/b/a
 COMBS GLOBAL f/k/a COMBS
 ENTERPRISES LLC, BAD BOY
 ENTERTAINMENT HOLDINGS, INC., BAD
 BOY PRODUCTIONS HOLDINGS, INC., BAD
 BOY BOOKS HOLDINGS, INC., BAD BOY
 RECORDS LLC, BAD BOY
 ENTERTAINMENT LLC, BAD BOY
 PRODUCTIONS LLC, ORGANIZATIONAL
 DOES 1-10, INDIVIDUAL DOES 1-10, AND
 SHAWN CARTER,


                                Defendant.



       PLEASE TAKE NOTICE that Alex Spiro (NY Bar No. 4656542) of Quinn Emanuel

Urquhart & Sullivan, LLP, with offices located at 295 5th Avenue, New York, NY 10016, hereby

appears as counsel of record in the above-captioned matter for Defendant Shawn Carter. I certify

that I am admitted to practice in this Court.




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DATED:   New York, New York       QUINN EMANUEL URQUHART &
         December 9, 2024         SULLIVAN, LLP

                                  /s/ Alex Spiro
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                                  Attorney for Defendant Shawn Carter




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